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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

RoYcE coRLEY, H,, ,.`
‘“5; €>¢z~ 15 civ. 9621
°F' 3 (Failla, J.)

  
 
 

Piaintiff,d

 
 

 

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HoN. BoNNiE G. wiTTNER, et 31., r"§“ DE§§§RATION §§ ii
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STATE OF VlRGlNlA )
> s.s.:
COUNTY OF PRINCE GEORGE )

\\§: &\\ k ‘ /p/"
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Plaintiff ROYCE CORLEY, declares under 'penalty of 'perjury 'pursuant to

28 U.S.C. § 1746, that the following is true and correct:

1. My name is Royce Corley. l am over 18 years of age. l am fully competent
to make this declaration, and l have personal knowledge of the facts stated in
this declaration. To my knowledge, all of the facts stated in this declaration
are believed to be true and correct.

2. l am the sole Plaintiff in this action proceeding pro se. l make this
declaration in opposition to the Defendants' motions to dismiss, and in support
of Plaintiff's cross-motions to enter default, partial judgment on the
pleadings, leave to take discovery and to amend the complaint (if necessary).

ANNEXED EXHIBITS
3. A true and correct copy of the signed. and sealed. CERTIFICATE OF

DISPOSITION DlSMlSSAL in the matter of People v. Royce Corley, Case No. 00423-

 

2012 (N.Y. Ct. Sup. Ct.) is annexed hereto as Plaintiff'S Exhibit "A."

é. A true and correct copy of a letter from the Supreme Court of the State
of New York, Appellate Division~-lst Dep't ln Re People v. Nathaniel Jackson,
Case No. 04157-2011 (dated Sep. 24, 2014) is annexed as Plaintiff's Exhibit "B."

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5. A true and correct copy of a reproduced Affidavit of Herbert L. Rogers

ln Re People v. Ricardo Kimble, Case No. 03621-1999 (dated May 4, 2004) is

 

annexed hereto as Plaintiff Exhibit "C."

6. A true and correct copy of "Demographics of all Arrests for Prostitution
in the County of New York (1990-2015)" from the N.Y.S. Division of Criminal
Justice Services (dated Aug. 17, 2016) is annexed as Plaintiff's Exhibit "D-l."

7. A true and. correct copy of "Demographics of all Convictions for
Prostitution in the County of New Ybrk (1990-2015)" from the N.Y.S. Div. of
Crim. Jus. Servs. (dated Nov. 1, 2016) is annexed as Plaintiff's Exhibit "D-2."

8. A true and correct copy of excerpts from the book entitled "Call Girl
Confidential: An Escort's Secret Life as an Undercover Agent" by Rebecca Kade
(c) 2014 (DgS. 98-111, 136-139, 164-173) is annexed as Plaintiff's Exhibit "E."

9. A true and correct copy of a letter from Glenn F. Hardy, Esq. to the
Nassau County Bar Association, Cbmmittee on Grievances, File #N-1902-14 (dated
Oct. 8, 2014) is annexed hereto as Plaintiff's Exhibit "F."

lO. A. true and. correct copy of an "NYC Assigned Counsel Plan--Expert
Voucher for 722-c Services" with supporting records (dated Nov. 20, 2013) is
annexed hereto as Plaintiff's Exhibit "G."

11. A true and correct copy of a N.Y. Daily News article entitled "Lawyer:
Brooklyn district attorney's office dropping problem-plagued case of four men
charged in rape of Orthodox Jewish woman" by Oren Yaniv, et al. (dated Jun. 21,
2012) is annexed hereto as Plaintiff's Exhibit "H-l."

12. A true and correct copy of a PlX-ll article entitled "FlRST ON PIX:
Alleged pimp brands his prostitutes with tattoos ..." by Mario Diaz, et al.
(dated Dec. 19, 2012) is annexed hereto as Plaintiff's Exhibit "H-Z."

13. A true and correct copy of a N.Y. Post article entitled "Sex-trap twin
gets slammer" by Rebecca Rosenberg (date unknown) is annexed hereto as

Plaintiff's Exhibit "l."

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lh. A true and correct copy of a Gothan Gazette article entitled "New York
Must Strengthen Sex lrafficking laws" by Cyrus Vance, Jr. (dated Jan. 28, 2015)
is annexed hereto as Plaintiff's Exhibit "J-l."

15. A true and correct copy of a N.Y. Post article entitled "'Cuffs' On
Prosecutors" by Yoav Gonen, et al. (dated Apr. 18, 2018) is annexed hereto as
Plaintiff's Exhibit "J-2."

16. A true and correct copy of a N.Y. Daily News article entitled "Pimp a
less~fit dad than 3-year-old's hooker mom" by Janon Fisher (dated Aug. 1, 2012)
is annexed hereto as Plaintiff's Exhibit "5-3."

17. A true and correct copy of District Attorney Press Release entitled "DA
VANCE: SEX IPAFFICKER SENTENCED TO 10-2/3-TO-32 YEARS IN PRISON" by CyruS R.
Vance, Jr. (dated Feb. 5, 2014) is annexed hereto as Plaintiff's Exhibit "J-A."

EXHIBITS INCORPORATED BY REFERENCE
(the following exhibits are in the possession of

the U.S. Attorney and Plaintiff has no means to
disseminate these records in electronic form)

 

18. A_ true and. correct description of "lnvestigation Bureau Follow-up
Reports" by DANY indicating investigation of Royce Corley between August 2011
and. January 2012 (Bates US 000002-000009) is incorporated. by reference as
Plaintiff's Exhibit "K-l."

19. A true and correct description of an "e-Justice NY Background Searc "
of Royce Corley by John lemple dated Sep. 8, 2011 (Bates US 000010-000012) is
incorporated by reference as Plaintiff's Exhibit "K-2."

20. A true and correct description of a "LexisNexis® Background Search" of
Royce Corley, circa 2010 (Bates US 000013-000036) is incorporated by reference
as Plaintiff's Exhibit "K-B." `

STATEMENTS PURSUANT TO RULE 56(d)

 

21. lhe foregoing statements are made in support of Plaintiff's cross-
motion to take discovery and to deny any motion construed as summary judgment
pursuant to Fed. R. Civ. P. 56(d)--

22. Plaintiff seeks the following facts from discovery with respect to each
of the following claims to prevail on summary judgment or at trial (these facts

below should be considered in aggregation):

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COUNT l
(Privacy)

(a) Records of all court orders issued by Judge
Wittner before the Grand Jury gave her
jurisdiction on February 15, 2012, pursuant to
N. Y. Crim. Proc. Law § 10. 20(2);

(b) Records of all evidence obtained by DANY and
the legal authority used to obtain them;

(c) lranscripts, docket entries and other records
from all cases that were used to obtain Corley'; s
records, e. g. , People v. Jackson, Brito, et al.

(d) lestimony from Judge Wittner and DANY about
the role they played in obtaining Corley' s records
and explaining how they had jurisdiction;

COUNT ll
(Outrageous Government Conduct)

(e) Testimony and 'prior statements fronl E.S.W.
a/k/a "Minna" about her interactions with Judge
Wittner, DANY and other law enforcement agencies;

(f) Testimony and. prior statements fronl J. M. L.
a/k/a 'Thebe" about her interactions with Minna,
DANY and other law enforcement (specifically, she
intimated to Corley that she learned that Minna
was "working for a Judge and Prosecutor;"

(g) lnvestigative file from DANY, NYPD and other
law enforcement regarding Corley' s case and other;

(h) lestimony from DANY about their investigative
technique of compelling prostitutes to work. as
informants, e.g., Rebecca Kade, Minna, etc.;

COUNT III
(Speedy Trial)

(i) Records and testimony from Glenn F. Hardy and
why he failed. to preserve and assert Corley' s
speedy trial rights;

(j) Records and testimony from DANY and why it
took over a year to dismiss a simple prostitution
case against Corley;

(k) Records and testimony from prior clients of
Glenn F. Hardy and Michael J. Barry that
complained of speedy trial violations, leaks to
the media, etc.

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COUNT IV
(Obstruction of Justice)

(l) Records and testimony from Michael J. Barry on
what investigative work he accomplished for
Corley, his relationship with the media, his phone
and e-mail records with the media and Mr. Hardy;

(m) Records from the N.Y.S. Div. of Crim. Justice
Svcs., U.S. Attorney and DANY about the
disposition and demographics of all cases
forwarded for federal prosecution;

(n) Records and testimony fron\ Glenn FH Hardy,
Michael J. Barry, and their former clients
regarding racial prejudice and bias;

COUNT V
(Equal Protection)

(o) Records from the N.Y.S. Div. of Crim. Justice
Svcs. and DANY regarding the dispositions of
prostitution cases distinguished by victim's race;

(p) Records from the N.Y.S. Unified Court System,
Judge Wittner, and former defendants before her,

regarding the disposition of Black defendants
versus other races;

COUNT Vl-X
(NIED, Malpractice, Unjust Enrichment,
Fraud and Deceptive Business Practices)
(q) Records and testimony from the prior clients
of Glenn F. Hardy and Michael J. Barry, whose
cases were reported by the media;

23. All of the foregoing facts would present a genuine issue of material
fact about the (a) motivations for each of the Defendants' actions, (b) racial
prejudice and bias, (c) outrageous government conduct, (d) financial gain from
their actions, (e) invasion of Corley's privacy, (f) deliberate violation of
Corley's constitutional rights, (g) Corley's extended incarceration, etc.

24. Ihe Court should be mindful that this is the pleading stage of the case
in which the Complain MUST be construed to be true. Plaintiff has had some

success with obtaining records through the Freedom of lnformation Laws.

Plaintiff has also requested records directly from Mr. Hardy and Mr. Barry.

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25. Plaintiff has been mostly unsuccessful in obtaining a majority of the
aforementioned facts because the Defendants have refused to volunteer
information, the State and. Federal. authorities have refused. to 'honor their
respective §reedom of lnformation laws, the State Court has sealed many records
from public view, and because of fraud committed by the Defendants and the
Federal Government. Furthermore, because Minna and Phebe were considered
victims in Plaintiff's federal case, he is legally prevented from communicating
with them to obtain their testimony.

Dated: November 18, 2018
Petersburg, VA

 

 

PLAINTIFF-DEC

yce Corley, pro se
Reg. No. 68011-054
Federal Correctional lns ' tion
P.0. Box 1000
Petersburg, VA 23804~1000
68011054@imail.klolk.com

 

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EXHIBIT A

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SUPREME COURT OF THE STATE OF NEW YORK FEE:$l0.00
NEW YORK COUNTY
100 CENTRE STREET
NEW YORK, NY 10013

CERTIFICATE OF DISPOSITION DISMISSAL

 

 

DATE; 02/26/2015 CERTIFICATE oF DISPosITIoN NUMBER: 49857
PEoPLE oF THE sTATE oF NEW YoRK cAsE NUMBER; 00423~2012
vs. LowER coURT NUMBER(s): 2012NY007628

DATE oF ARREST= 01/25/2012

ARREST #: M12607660

DATE oF BIRTH: 06/26/1984
CoRLEY,RoYCE L DATE FILED= 01/26/2012

DEFENDANT

I HEREBY CERTIFY THAT IT APPEARS FROM AN EXAMINATION OF THE RECORDS
ON FILE IN THIS OFFICE THAT ON 02/01/2013 THE ABOVE ACTION WAS
DISMISSED AND ALL PENDING CRIMINAL CHARGES RELATED TO

THIS ACTION WERE ALSO DISMISSED BY THE HONORABLE WITTNER,B THEN
A JUDGE OF THIS COURT.

THE DEFENDANT WAS DISCHARGED FROM THE JURISDICTION OF THE COURT.

THE ABOVE MENTIONED DISMISSAL IS A TERMINATION OF THE CRIMINAL
ACTION IN FAVOR OF THE ACCUSED AND PURSUANT TO SECTION 160.60 OF
THE CRIMINAL PROCEDURE LAW "THE ARREST AND PROSECUTION SHALL BE
DEEMED A NULLITY AND THE ACCUSED SHALL BE RESTORED, IN
CONTEMPLATION OF LAW, TO THE STATUS OCCUPIED BEFORE THE ARREST
AND PROSECUTION".

PURSUANT TO SECTION 160.50(1C) OF THE CRIMINAL PROCEDURE LAW, ALL
OFFICIAL RECORDS AND PAPERS RELATING TO THIS CASE ARE SEALED.

IN WITNESS WHEREOF,I HAVE HEREUNTO SET MY HAND AND AFFIXED MY
oFFICIAL sEAL oN THIS DATE 02/26/2015. 6 ,,a

COURT CLERK

   

 

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EXHIBIT B

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Supreme Court of the State of New York
Appellate Division ~ First Department
27 Madison Avenue
New York, N.Y. lOOlO
(212) 340-0400

September 24, 2014

Royce Corley(680ll-054)

Federal Correctional lnstitution
33 % Pembroke Road

Danbury, CT 06811~3099

Re: People v. Nathaniel Jackson
Ind. #4l57/ll & 34/l2, New York

Dear Mr. Corley:
This is to acknowledge receipt of your correspondence dated
September l, 2014, requesting a copy of transcripts of the above-

listed defendant.

Please be advised that the transcripts you seek are not
available for public viewinq.

Yours truly,

Clerk’s Office

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EXHIBIT C

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Kimble v. Brown, 05 Civ 8161 (SHS)(DFE), 2008 U S. Dist LEXlS 90983
(s....JDNY, J.ui 25, 2003)

Affidavit in support of 440 motion; filed upon the Supreme Court of the State of New York: By
Ricardo Kimble |ndictment number 3621/99

State of New Yorl<)

County of Orange ) ss.:

Herbert L. Rogers being duly sworn, desposes and says:

l am the Co-defendant of Ricardo Kimble |n. No. 3621/99.

Ricardo and l were arrested on January 10, 1999., and while he participated i a jury trial, l struck a
plea bargain and received a sentence of 9 years to life.

At no time did l make an agreement with a prosecutor, a Judge or anyone else that as a condition of
my plea bargain l would not testify for Ricardo.

Neverthe|ess, on more than one occasion Judge Bonnie Wittner repeatedly threatened this affiant
with federal prosecution in the event l should testify for |\/|r. Kimble.

As a result of those threats and others regarding the vacature of my plea agreement l did not testify.

lt is my firm belief taht the outcome of |\/lr. Kimbles' trial would have been more favorable to him if
the Jury had heard my testimony, particularly, but not limited to the facts that l\/lr. Kimble never saw
any drugs, never saw any money, was not present when the drugs were purchased never knew how
much money l had' in my possession, nor how much drugs | intended to purchase | repeatedly tried
to tell tha court all of the above facts but the Judge made it clear that she would not accept my plea
unless | stated the facts in a way that was acceptable to the court ln light of te forgiong l dont
believe l\/lr. Kimble received a fair tria|.

/s/ Herbert L. Rogers

Herbert L. Rogers, 00/-\5604
SWORN TO BefoRe l\/le This
_4_ DAY of l\/lay 2004

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EXHIBIT D-l

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August 17, 2016

l\/'lr. Royce Corley

Reg. No. 68011-054

Federal Correctiona| lnstitution
33 72 Pembroke Road
Danbury, CT 06811-3099

Dear l\/lr. Corley:
This will acknowledge receipt of your Freedom of |nformation l_aw (“FO|L”) request,
received by the Division of Criminal Justice Services (“Division”) requesting copies of all records

in our agencies “Computerized Crimina| l-listory System" from the years 1990 through 2015,
regarding the following:

o Demographics (by age, gender, race-ethnicity)of all arrest for Prostitution
Offenses(Penal Law art. 230)in the County of New York (“l\/lanhattan"), organized
by the “ Top Arrest Charge”;

¢ Demographics (by age, gender, race-ethnicity) of all arrest for Sexual Offenses
(Pena| Law art. 130) in the County of New York (“Nlanhattan"), organized by the
“Top Arrest Charge".

Enclosed is the data that is responsive to your request
Pursuant to Public Officers l_aW §89(4)(a), you may appeal this determination to the
Counsel, Division of Criminal Justice Services, 80 South Swan St., Albany, NY 12210.

Very truly yours,
f/`\ ' ,.

Va|erie Fried|ander
Records Access Officer

Enclosure

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EXHIBIT D-Z

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November1, 2016

iVir. Royce Coriey

Reg. No. 68011-054

Federai Correctionai institution
33 1/z Pembroi<e Road
Danbury, CT 06811-3099

Dear i\/ir. Coriey;

This is in response to your Freedom of information LaW (FOIL) request for records from
the “Computerized Criminai History System” from the years 1990 through 2015 regarding the
foilowing;

1. Demographics (by age, gender, race-ethnicity) of ali convictions for Prostitution
Offenses (Penai i_aw Art. 230 in the County of New York organized by the highest
conviction charge

2. Demographics (by age, gender, race-ethnicity) of ali convictions for Prostitution
Offenses (Penai LaW,Art. 230 in the State of New York organized by the highest
conviction charge.

Enciosed is the data that is responsive to your request

Pursuant to POL §89(4)(3), you may appeai this determination Within 30 days to the
Counsei, Division of Criminai Justice Services, 80 South Swan Street, Aibany, NY 12210.

Very truiy yours,

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Va|erie Friediander
Records Access Officer

Enclosure

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Case 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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EXHIBIT. E

rebecca kade

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v “Ashley, wait!”~he said, and started to cry like a babyi
“Get the hell away from me and get yourself some help,” l
said as l ran out, checked out, and headed to the airport. It took
me the whole flight back to recovers l worried: Would Anna ac~

quiesce to his request?

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rebecca kade

headquarters at the state criminal courthouse Nobody told mc
to bring a lawyer. l took the subway downtown and had plenty of
time on thejourney to contemplate my imminent loss of freedom
and, worse, my daughter. l was a nervous wreck when I arrived.
Would l be arrested now? Prostitution is a class B misdemeanor
in New York State: I could get three months in jail! My custody
battle for Isabella would be lost.

l went through the metal detectors and up to a dreary floor
lined with green and gray metal filing cabinets right out ofa for-
ties noir film. lt looked as il` they hadn’t bought a new desk in
decades. Iwas led into a room with a plain gray metal table, a few
raggedy chairs, and a horrif`ic fluorescent light overhead

Two men came in, and one sat at the table in front of me.
“Miss Kade,” said one. “l am Assistant District Attorney Artie
McConnell, and this is . . .” My mind went on overbuzz at the
words “assistant district attorney” and l didn’t even catch the
other man’s name. He looked like hc’d graduated law school the
week before and appeared to be less important, as he sat on the
side ofthe room and not at the table where Mr. McConnell and I
were sitting facing one another.

“Ms. Kade, we have asked you to come in today because we

would like to discuss a few things with you regarding your rela~ _

tionship with Kristin Davis. As you are probably aware, she was
arrested recently, and we are prosecuting her on several charges
and talking to people who knew her. Your name has come up,
but We anticipate this to be a relatively short interview. l have a
document here for you to sign. It is a debriefing agreement, and
it merely states that you are free to leave at any time and that
statements you make during this interview could be used in a l`u~

ture prosecution. However, any statement you make today cannot

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T\/\/ELVE

Where are you

taking me?

/A\ little over a year went by and I still had not
won custody of Isabella. The case dragged on. I could tell during
court appearances that Mike was tiring of the battle_or, more
likely, the expense of the battle. We were both paying thousands
of dollars a month in legal bills,

Just as l began to get more unsupervised time with Isabella
in my custody fight, just as l was carving out an identity as a
PTA leader, my world came crashing down. The investigators
for then Manhattan district attorney Robert Morgenthau found
me as soon as Kristin was busted. They didn’t arrest me, but

l was called in For questioning to One Hogan Place, the DA’s

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call girl confidential

be used to prosecute you in the future.” l signed the document,
but to be honest, l didn’t have a clue what he had just said or
what that document was supposed to mean to me. Ijust heard my
sister’s voice saying Te[l the lruth, and that was what I was going
to do.

Mr. McConnell and his assistant started interrogating me.

Had l worked as an escort for Kristin Davis?

“Yes.” They obviously knew I had or l wouldn’t be there.

“Have you worked for anyone else, and il` so, who?” McCon-
nell asked.

“Ummm, a company called Classic Affairs,” l answered hesi-
tantly.

“God, these names are so clichéd. Who runs it?”

l stalled. “A woman . . . named A_nna.” I did not want to an-
swer that question. I thought this was going to be purely about
Kristin! Now l would be implicating myself with another madam?
He put his pen down, and he and the other man looked at each
other and noddcd. l

“Will you excuse us for a minute?” McConnell said, and they
both walked out of the room and shut the door. That was it? They
had only asked me a couple of questions, and the tone in the
room had completely changed. Al`ter a few minutes they came
back in. “We’re going to have to transfer you to another location,
Ms. Kade,” said McConnell.

“You can’t be here anymore,” he said sternly as he shut the
door behind him so no one could see inside the room.

“Why?” I asked

“Wc’ll have to explain that to you later,” he said. “We’re
going to have some people escort you out of thc building to

an unmarked car. We will make sure you will be covered so no

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rebecca kade

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one can see you leaving the building. We’re taking you to a safer
location."

“What? Why?” l sputtered.

“They’ll explain it when you get there. Come on,” he said,
taking my arm.

“No!” I said, pulling back. “I’m not going anywhere until l
know what’s going on and someone in my family knows where l’m
going.”

I called my sister and gave her a quick rundown of where I
was and that l was going to another location. I told her I had a
signed document giving me rights that I would mail to her as
we were leaving the building I didn’t trust these guys, and I felt
uncomfortable having paperwork like that in my apartment She
instructed me again to tell the truth.

After a few minutes, three big guys with gold detectives‘
badges on thin metal chains hanging around their necks came in
and said my time was up on the phone.

“OK, Bridget, l have to go,” l said. “You should hear from
me tonight. If you don’t, you know something went wrong.” 1 was
thinking, Thir is ridiculous What ir going an.’ Why are thqy being so dra-
matic? l felt as ifl were being pulled into a movie.

“You have to come with us now,” said the biggest of the cops.
They slipped a lanyard with an orange lD card on it around my
neck. Then they threw my coat over my head and led me past
the old green metal filing cabinets down a dingy hallway to an
elevator bank, then down and out the side door of the courthouse
They had me surrounded, my coat still over my head. They put
me in the back ofa car, one cop on either side, and we sped off. I
was terrified.

ln the unmarked car, they took my coat off my head. lwasn’t

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rebecca kade

been seized from a drug dealer and was now a secret special in~
vestigations headquarters

“Wherc am I?” l demanded after they took me into a cramped
office.

“You are in the Official Corruption Unit of the Manhattan
District Attorney’s Office,” said one investigator. “You men~
tioned a person who we have been investigating for quite some
time: Anna. Can you tell us anything about her?”

1 knew I had valuable information. l was one of the few girls
Anna had allowed to get close to her. But l didn’t want to talk
about her, and l certainly wasn’t about to name clients. Not only
had these men kept me afloat, but 1 was terrilied that Anna
would find out and come after rne4 As scared as l was of being
arrested, tried, and jailed, l still was not prepared to give them
clients’ namcs.

The investigators asked mc questions about the business.
How was l paid? Did l work over state lines? Did l work interna-
tionally? Was drug dealing involved?

“Why should I tell you anything?” l dcmanded. “She’s your
best friend ifyou’re nice to her, but ifyou cross her, she’s a killer.
_]ust askjason Itzler.”

ltzler was the self-styled “King of All Pimps,” who once
had Ashley Alexandra Dupré, the girl who brought down Eliot
Spitzer, working at his agency, New York Confidential. Itzler
claimed that Gristina had sent three thugs, one of them armed,
to threaten him and scare girls out ofworking for him instead of
her. ltzlcr would later tell a New York tabloid, “She’s the most
vindictive bitch in the escorting game. Dangerous, dangerous,
dangerous.”

“Well, Ms. Kade, we already have evidence that you worked

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call girl confidential

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handcuffed I asked right then an thero, “Am l being arrested?”
They assured me that l was not-in fact, far from it. They said
that lwasn’t safe in that building. They said it was very possible
that l had important information they had been looking for in
an investigation, and that there were concerns that there might
be a leak or mole in their own office. 'I`hey wanted to get me out
before anyone knew l was there. l never saw ADA McConnell
again.

It’s very possible that someone in the district attorney’s
office had been warning Anna as they cracked down on other
madams and pimps. Maybe someone there was a client. l don’t
know what the explanation was, but somehow Anna had gone
unscathed.

l was more confused than ever. What the hell did I know that
was so damn important that they had'to cover my head with my
coat, throw me in the back ofa car, and speed off from the Man-
hattan district attorney’s office to some secret location? Thi: has
to be ajoke, l thought. The only problem Was, l didn’t know any of
these people, so why would they want to play a joke on me? 'l`he
driver cruised past the Metropolitan Correctional Center and
then we were navigating the streets of Chinatown, past barkers
on Canal Street who were openly bringing tourists into rooms
behind false walls in their shops to buy counterfeit watches and
purses as the cops cruised by. The vegetable stands disappeared,
and soon we passed luxury leather goods boutiques and galleries
as we drove farther down the cobblestone streets of SoHo. Were
we headed to another precinct? Suddenly, in thc middle of SoHo,
we stopped in front of an old converted warehouse, got out, and
took the renovated elevator upstairs into a gigantic, light-filled
loft. No old metal filing cabinets there. I learned later that it had

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call girl confidential

as a prostitute through your connection with Kristin Davis. If
we prosecute you and you are convicted, you could get a jail
sentence.”

I’d never get lsabella back if that happened So l made my

decision-~one that would determine the next four years of my life.

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rebecca kade

next. They showed me a lot of surveillance photos to see ifI could
ID anyone. This went on for days, then weeks. They would drive
me home at the end of the day, then pick me up first thing the
next morning to be interrogated again.

1 was missing so much school that they had to write me an
excuse7 like in high school: “Miss Kade was witness to a serious
crime in the recent past,” they wrote. “She [has had to] report to
our office. . . . These duties consumed a great deal of Ms. Kade’s
time.”

1 was missing school by day, but by night 1 was still working
for Anna. 1 was still working as an escort, and the prosecutors
knew it. 1 would eventually learn why they had allowed me to
keep breaking the law.

“What is Anna’s last name?” the ADA grilled me.

“Who knows what her real name is?” 1 answered. “She’s gone
by Anna Tennant, Anna Gristina, Anna Scotland. She was born in
Scotland; 1 doubt that name’s real.”

It was clear to me that the investigators had very little infor-
mation on Anna, and they pumped me for as much as they could.
1 told them what 1 knew about the business, the key players, but
1 did not give up clients’ names. They pressured me with photo
lineups, and it was when 1 saw the photo of Edward-my pedo-
phile client_that I had a breakdown in their office.Just seeing
his face caught me off guard, and 1 cried hysterically. Feeling
somewhat relieved, 1 revealed the truth about him.

“Ms. Kade, we want you to do something for us,” one of the
prosecutors told me after weeks of questioning

“What more do you want?” l practically cried in exaspcra-
tion.

“We want you to start recording your conversations with

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THlRTEEN

my life as a confidential
informant begins

Fi_he Manhattan district attorney’s investiga-
tors already knew that Anna regularly boasted that she had law
enforcement connections. Sultry Irma Nici, who claimed to have
had sex with David Beckham and who’d worked for Anna for six
months, had already told prosecutors as much.

'I`hat’s part of what kept Anna in business so long, some sur~
mised, and that’s why the Official Corruption Unit, rather than
the Scx Crirnes Unit-the one once headed by the famous pros-
ecutor turned mystery writer Linda Fairstein-was in charge of
the investigation

The investigators asked rne more questions that day, and the

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call girl confidential

Anna Gristina,” he said. “We want you to gather some evidence

for us.”

Wait, 1 thought. Isn’t that the job ¢y"an undercover eo[).J Like on TV,

when a beautiful young female cop only pretermit to go work fn an escort
remice? How the hell would Ipull that oj? 1 was terrified. They made

it seem as ifl had a choice. But Ididn’t.

1 couldn’t fathom how a wiretap would work. First of all, there

was the matter of Anna’s preference for texts over phone calls.
She changed her phone numbers constantly, and if she ever did
call you, it would usually he brief and to the point. But the in4
vestigators had a lot of specific questions they wanted me to ask
her that would lead to her arrest and conviction. lt was true that
Anna had started to open up to me. She would call me from her
farm upstate to book a high-level client, and wc’d end up having
long, friendly conversations But how was 1 going to suddenly ask
her Law €`9° Ora'er-type questions in the middle of a gal-pal chat?
Not to mention that, while alone at my house, 1 would have to
manage outdated tape recorders, the only equipment the techni-
cal department had after years of city budgetary cutbacks.

The prosecutors wanted me to record Anna talking all about
her clients, her girls, how she ran the business, the law enforce-
ment connections she boasted about, and what she had done
about the child predator’s request.

1 was scared. Anna is your best friend when you’re on her
good side, but she will slit your throat if you cross her.

What’s more, Anna had become increasingly cautious, even
paranoid, ever since Andreia Schwartz had been deported. An-
dreia, a pretty Brazilian escort turned madam who had worked
at the Emperor’s Club V.I.P. agency with Eliot Spitzer’s call girl
Ashley Dupré, had been deported in March 2008 after serving

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rebecca kade

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.. eighteen months 1n prison. Spitzer’ s use of escorts,- -uncoveied by
the FBI, had led to the sweep by the Manhattan DA that brought
down Kristin. Andreia would end up serving time in a predomi»
nantly male sex offenders’ unit on Rikers Island and forfeit half
a million dollars after pleading guilty to promoting prostitution,
a class D felony, in October 2008. (Cecil Suwal owned Emperor’s
Club V.I.P. with her boyfriend, Mark Brener, forty years her se-
nior. lt was the Emperor’s Club V.I.P. listing of my client Eliot
Spitzer as their Client No. 9 that led to the New York governor’s
resignation.) Anna believed that Andrcia had informed on her,
and now she was keeping a low profile by isolating herself on her
upstate farm. lt would be too suspicious for me to visit her there.

“We’ll have to try wiretapping a phone call,” said Morgen~
thau’s assistant district attorney on the case (and the first of sev-
eral handlers I would work with).

They set up a wiretap on my phone, the one on which Anna
always called to do business or just to chat. l would have to use
every skill set I had to elicit the kind of` information the ADA
wanted in the middle ol`a girlfriend-to-girlfriend call.

The other form of communication that Anna was using was
Skype. She found it useful because it couldn’t be traced and was
completely safe-or so she thought. lt would be extra tricky for
me because Skype calls are video chats, so she could see every-
thing l was doing

One of` the first conversations l had with Anna was in early
April of 2008. It was the call I was waiting for: Kristin had just
been arrested, and Anna wanted to check in and make sure Iwas
OK. I was in my bedroom doing homework in my yoga clothes
when the phone rang and I saw her personal number pop up. l

froze, but then sprang into action. I’d attached the wires to each

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call girl confidential

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home so I would never miss a word. My heart pounding, l pushed
RECORD on the equipment, put the earpiece in my ear, and laid
out the ADA’s talking points in front of me, My life as a confiden-

tial informant had begun.

lll

r e b e c c a k a d e
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R: That's the problem, you con't talk to anybody about it. Who ~
con you talk to?
A: |'m here. l don't know if we're all just paranoid Don't be

scored to coil cnytime.

Call anytime? lf only Anna knew.

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rebecca kade

pimp. lt was like sex slavery at the behest of the Manhattan Dis-
trict Attorney’s Office. This cowboy still has ajob in law enforce-
ment, in another state, at an even higher level.

Obviously, if l did this with every client l saw, l would have
been broke, so l didn’t tell him about everybody.

Anna continued to hook me up. One of my heavy hitters at
the time was Brent. Brent was a complete sicko, but money was
tighter than ever and l was compromising myself in ways l never
thought possible. But if Brent wanted to see me twice in one
week, l was $20,000 richer by Friday.

They weren’t all bad. l had one client, an Asian billionaire
who preferred to be called Henri, who was incredibly generous
and easygoing. Henri was living in New York for about a year
to sort out some banking problems, and his wife stayed back in
their home country with the children. Henri had to have com-
panionship, so he would have his chauffeur come pick me up in
his Bentley. lt was a bit awkward because his driver,John, was an
off-duty cop, my client revealed with a chuckle. One night,John
picked me up, and as we got stuck in a midtown log]`am, l decided
to break the barrier of silence. l didn’t know if he would respond
or not, but l asked him about himself and chatted amiably. But
surely he knew what was going on. v

Having someone who works as a police officer during the
day drive me around, knowing full well that l was an escort, was
not a comforting feeling. ln fact, lwas nervous each time I saw
him. Henri always laughed at me and said, “If you pay those guys
enough, they will do anything.” That wasn’t true, and l knew it.
John needed the money to help pay for child support and was
currently in the middle of a custody battle. Bingol Right then l

felt his pain and understood why he would take the demeaning

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FlF T E E N

going undercover

_l'he assistant district attorney’s office couldn’t
believe the information l provided in my first wiretap. But my
work was far from over. lt was clear to them l was an invaluable
asset, and so they encouraged me to keep on working for Anna
as a call girl. It was like the Wild West. They wanted me to keep
breaking the law so they could get more information

l highly doubt District Attorney Morgenthau was aware ofthe
ADA’s shenanigans. The ADA told me to work in order to garner
information for him, and then turn over to his office the money
and any gifts that clients gave me. l actually did this. God knows
if somebody pocketed the money, Technically, this ADA was my

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call girl confidential

commands from Henri and work ridiculous hours, only to wake
up and go and be one of New York’s Finest. A lot of police think
prostitution is a BS crime and a waste of their time. l never told
john why l did what l did, of course, and he probably did judge
me, but for that night during the drive, we were not driver and
escort. We were just_]ohn and Ashley.

Later that evening l told Henri that he had a wonderful
driver and that I thought he was very kind. “Kind?” he asked.
“What do you mean, kind? How would you know that? Did he talk
to you?‘” I froze. A stream of thoughts and scenarios went through
my head. Why was he so upset? All of a sudden Iwas nervous for
_]ohn and his job, so l quickly said, “No, of course not. He isjust a
very good driver and always makes sure l know how far away we
are from you when you are not with me in the car. You know how
much l can’t stand to be away from you and wait all by myself
in the backseat.” I put on my pouty face and cozied up to him so
as to reassure him that there was nothing to worry about. Henri
could be the biggest baby. After that, he refused to go out for
the evening, so we stayed in, even though he had made special
dinner plans with clients. He called his secretary at home and
screamed at her to call them all and cancel. This was going to be
a long night, and Iwas going to have my work cut out for me. To~
night wasn’t about me. Tonight l had made a mistake, and it was
talking to the driver and telling Henri. Now, l had to make him
forget about it. lt was time to “flip the switch,” go into high gear,
and make surejohn didn’t lose his job.

The next time John picked me up, l said hello to him with
a smile you couldn’t miss. He didn’t respond We rode in abso-
lute silence all the way from downtown to a riverside skyscraper

where Henri had an apartment so high up, you couldn’t get cell

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talk and tell you where l was!”

We kept looking for you until we found you.”

car on its way out of town and these guys would not know how to
find me.

said orie cop.
my body eventually, l’m feeling better about the situation.”

Corruption headquarters l had a few choice words for the ADA
in the debriefing

ably mad that we hadn’t had any sex after he’d done me such a

big favor by setting me up at the bank.

rebecca kade

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“Could you guys even hca_r mc?” l screeched. “l was trying to

“No, we couldn’t hear anything," said one techie, his head-

phones resting on his shoulders. “All of a sudden you were gone.

Fantastic, l thought. I could have been in serious danger in a

“We would have found you with your transmitter eventually,”
“Ez)enlually?” lyelled. “That’s great. So as long as you can find

My anger did not subside as we headed back downtown to

Three days later, l got a bill from_]onas in the mail. He was prob-

Two days after that, on March 21, 2010,Jonas was arrested.

  

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rebecca kade

They wanted me to wear a wire with the lawyer who seemed
to have a special place in Anna’s life. l’ll call him Donald.

lt was he who had advised her on investing in real estate. He
introduced her to some of her richest clients.

For the lawyer’s eff`orts, Anna gave him his choice of her girls
He chose me. l was the payoff. I had about six sessions like this
over time.

The investigators in the Corruption Unit got very excited
when they heard that this lawyer was my client. Apparently
somebody else had tipped them off about him. l’m guessingjonas
was blabbing like Chatty Cathy after his arrest. Known as ‘:]ohn
D‘oe” during the legal proceedings, Jonas was to testify before
judge Juan Merchan more than a dozen times. So investigators
had their eye on this attorney, But they were going to have the
same problem with him as withjonas: his hands were going to be
all over me ifwe had a scheduled liaison.

And then something incredible happened Anna returned
from Canada and wanted me to come to the East Seventy-
Eighth Street place to meet and then go eat lunch. She said she
wanted to discuss the business. Lately we had been discussing
on the phone about her starting up new websites for a match-
making site. lt seemed harmless, and the ADA and detectives
were thrilled at the opportunity to have me meet her face-to-
face while wearing a wire. I was chilled with fright. But then l
thought, Maybe this ir straight-ups rhe’.r paranoid and probably wants to
get back out aflown, to this will be a quick lunch. Maybe she wanted
me to manage some of the day-to»day tasks of operating the
business_for a bigger stake and at increased risk, but 1 highly
doubted this. l agreed to meet her the following week. What
choice did l have?

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EiGHTEEN

Wearing a Wire With
the madam

had admitted to prosecutors months before that
Anna Gristina had procured me to perform sex acts in exchange
for money~a lot of money_from men. l had lured Anna’s mon-
eyman, _]onas Gayer, into a meeting with the Russian money
launderers. The DA’s investigators had even taped it. l had got-
tenjonas to show me her accounts, and l recorded him explain»
ing how she hid her money, possibly as much as 314 million.
Surely they now had enough evidence to arrest and convict Anna
Gristina, ifthey were competent cnough. l wanted to get my life

back. But the prosecutors only wanted more.

 

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call girl confidential

This time the techies wanted me to wear the wire. “The audio
from the recorder buried in the purse is simply not as good,” said
the lead detective. “We can’t take any chances on this one, with
both of them in the room talking.”

On the appointed day, l was picked up and brought to Cor~
ruption, The DA’s techies wired me up. The team drove me upA
town in the surveillance van to East Seventy~Seventh Street, and
l hopped out and walked the rest of the way to the apartment,
where l thought only Anna was waiting for me. The detectives
were in the van and in a couple of places out on East Seventy~
Eighth. They had decided it was too risky to go inside. l don’t
know why it only occurred to me just as Iwas entering the build»
ing, but I realized that if things backfired and Anna wanted to
hurt me, the cops wouldn’t be able to get to me in time. l was on
my own there.

l walked into the building and up the stairs to Anna’s apart»
ment, using my own key to enter. When l opened the door, l was
stunned to see Anna sitting side by side with her attorney, Don-
ald. He wasn’t supposed to be there, and he most certainly would
not go out in public with us to have lunch. He was rarely seen
in public anywhere. l struggled to hold myself together and also
listen to her. ln my panic, my heart was racing, and l struggled
to focus. I was Rebecca, then Ashley_no, wait, I was undercover
Rebecca . . . no, lwas absolutely confused . . . and then l snapped
into place. 1 had ajob to do. This is why the DA’s office had me
working for so long. I may have struggled internally, but in a
mere moment l could completely pull off the performance of a
lifetime and no one in that room had a clue l was scared or ner-
vous. Not even the slightest suspicion.

Anna chatted amiably, but nothing concrete came up at first.

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l tried-ito steer the conversation towards the business, but she was
having none of it. lt soon became clear what she wanted

“Ashley, darling, Donald has been missing you so mun/i,"’ she
said, practically cooing as he grinned. “He’s been so nice to us,
and l would like you to make him feel good today.”

Anna wanted me to have a session with Donald right then!
Maybe he had done her a real estate favor last week, maybe he
wasjust horny, but it was payback time, and the reward was to be
me. Donald sat there grinning.

Oh, God! l had wires running up to my breastsl l had a device
on! l was dead! My mind raced. Should l tell them l was having
my period? That l felt the flu coming on?

“Oh, Donald, there’s nothing l’d love to do more,” l said,
reaching over and running my hand up his thigh. “But l have to
go pick up lsabella early from school for her doctor’s appoint»
ment.” Donald was one of the few clients who knew l had a
daughter.

“Can`t her nanny do that?” Anna practically spit out.

“l always accompany her to her pediatrician, Anna, as l’m
sure you do with your children,” l said as l slowly started to rise
and back out towards the door. “Let’s set up a time so l can give
you the proper attention you dcserve.”

“lt doesn’t have to be a long marathon,” Donald pleaded in a
last‘ditch effort to get me to stay.

l unlocked the door, and they started to rise as Anna said,
“Ashley, wait!”

ljust yelled, “Gotta go!” from the hallway and l noticed my
voice sounded unnaturally high.

All l could think about was getting to that van and getting
that wire off, going downtown, being debriefed, and being taken

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rebecca kade

couldn’t even speak with my sister about what the DA was put-
ting me through. l had to think for myself. And l decided that
l was done with this. l didn’t want any part of this any longer.
'l`here had been too many close calls. The more 1 gave the pros-
ecutors, the more they wanted. They did not seem to care about
me at all.

One day the detectives brought me down to Corruption and
into the ADA’s conference room, and the ADA started to say,
“OK, next we want you to . . .” There was something presumptu-
ous about his tone. He didn’t ask me. He was telling me. l had
been doing this for about two years now, and l had had enough.

l said “No” before he had even finished.

“What do you mean, ‘No’?’” he asked, startled. The other
ADA and the investigators fairly whipped their heads in his
direction.

“l think l need an attorney and l need protection,” l said. “l’ve
never been charged with anything, and you’ve been putting me
into risky situations, including during client sessions, for too long.”

The ADA stared at me, and his face was turning red. His vi-
sions of being the golden boy who brought down Manhattan’s big`
gest madam were evaporating because l was going to lawyer up.
Perhaps he should have treated me better.

“You can hire one,” he blurted out.

“No, l have a right to a public defender,” l said, looking him
right in the eye. “And you’re going to get me one.”

He stormed out of the room and, for all l know, out of the
Manhattan district attorney’s office. l never heard from him
again, and now he is working as an assistant U.S. attorney. lwish

them luck with that cowboy.

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call girl confidential

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home. l could barely breathe. 'l`his time was different. l knew.,if
Anna and Donald had realized what l had been doing-well, l
couldn't think about what would have happened. All l knew was
that no one, no matter what they said, could have gotten to me

quickly enough inside that apartment

_l_he investigators offered to drive me home, but l insisted on
going alone. l had to get out of there and away from them. l
called my sister as soon as l turned the corner.

“Hey. It’s Rebecca.”

“l know. How are you doing? How is lsabella?” she asked.

“She’s fine, but l’m not doing too well. l wish l could come
down there,”

Bridget was silent.

“l just want this all to end.”

“Rebecca, what di_d you think would happen when you got
yourself wrapped up in that business?”

“l know, l know. lwasjust doing it for lsabella . . .”

“Remember the song, ‘lt’s a long old road, but l’m gonna find
the end.”’

“l hope so, Bridget. l . . . ljust wanted to hear your voice. l
needed to hear it. Tell me l’m going to be OK. l’m so scared.”

“You are going to be OK You are strong. And lsabella needs
you. You told the truth, and that’s all that matters. Be proud of
that. OK} Keep me apprised of your situation. l need to know you
are safe. Maybe we’ll see you at Christmas?”

“OK. Sounds good. l love you.”

“l love you too. Give Isabella hugs and kissesi”

c o o

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call girl confidential

l was still working for Anna as if nothing had happened. Un-
less somebody suddenly wanted to give me an investment bank-
ingjob, there was no way l could make that kind of money for my
fight, which raged on in Family Court. l continued to have super-
vised visits with my daughter. l could focus on school again, and
my grades were improving Iwas returning to normal. l felt l had
gotten my life back.

And then, eleven months later, l received a ca11 from the new
ADA on the case. rl`hey had not given up on bringing Anna down.
My whole feeling of well-being instantly collapsed Why? Why
were they doing this? Weren’t there terrorists and murderers and
Wall Street cheats to go after? What did Anna Gristina do, really?
Facilit_ate paid sex between consenting adults? As they say in Ne-
vada, where prostitution is legal: “lf it doesn’t scare the horses,
who cares?”

The ADA told me l had to come back down to Corruption
headquarters

“l’m not corning in,’l lsaid, “until l have an attorney.”

“No problem,” be said. He soon arranged for the court to as-
sign me a lawyer named Seema lyer. Seema called me and we
met in her officc, where l sat and told her my entire story. She
was llabbergasted. She knew the first ADA well, and couldn’t be-
lieve how he had treated me.

She made big trouble and said l could bring a lawsuit against
the city ifl wanted to, because it was patently illegal for them to
make me continue working in an illegal business. Not to mention
hypocritical.

The new ADA said that all the work l did under the first
ADA was thrown out, because it would be inadmissible in court.

I was given all this information from my attorney, who had a

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rebecca katie

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conversation with him. l never went in to speak with him or meet
him. My attorney completely shielded me from that office. It'
was a different experience from what l had gone through on my "
own prior to that. What's more, the new ADA told me that many ;`
documents were missing, including some of mine. lwould have to f
start all over again, he said.

“In fact, Ms. Kade, we have evidence now to charge you on
three different counts of prostitution and could do so at any-y
time,” the ADA said. lt was blackmail. l felt like he was trying '
to intimidate me into going back to work for them under these
threats. l stood my ground

“You could plead to a lesser charge,” my lawyer told me.

“l’m not pleading to crap!” lyelled.

I had made copies of every letter, kept the statements of
every fake bank account, saved every e~mail with instructions
from the DA’s office. (And still have them.) Not only that, but
even as they were putting wires on mc, l had been recording them.
That’s right: l had recorded the proceedings of every meeting
and phone call on my little recorder. My job was done: if they’d
messed up, they could find a new girl to risk her life for them. l
would fight them, and my attorney was ready.

So they simply took her off my case. They assigned me a new
public defender. lt was all perfectly legal. And he happened to
have worked in the DA’s office prior to going into private prac~
tice. He didn’t pursue any action against them, but the message
had been sent. No one ever threatened me with charges again; in
fact, Ididn’t hear from this ADA again.

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N l N E T E E N

gristina goes down

On _]uly 19, 2011, Anna was having lunch
with a wealthy man she had recently met, along withjaynie Mae
Baker, an alluring toffee-haired thirty-year-old.jaynie Mae had
once donned a bikini and a studded stretch halter with choker
collar as a World Wrestling Entertainment (WWE) Raw Diva
Search finalist, telling judges she was a “saucy little sushi roll.”
She was pretty and slender enough to work for Anna as an escort,
but she didn’t, as far as l knew. l never worked with her, anyway.

jaynie Mae had a wealthy boyfriend, Wall Street invest*
ment banker Marcus Laun. And she had seen how much money

there was to be made with a business like VIP Life, where she

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EXHIBIT F

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GLENN F. HARDY, P.C.

ATTORNEY AT LAW
226 SEVENTH sTREET
SuiTE 302 \
GARDEN ciTY, New YORK 11530
TEi_: <516) 248-4041
1:sz <516) 248~4042
E~MA!L: GHARDYESQ@AOL_€OM

October 8, 2014

Nassau County Bar Association
Committee on Grievances

15th and West Streets

l\/lineola, NY 1 1501

RE: Hardy-Corley
File #: N-1902-14

Dear Sir/l\/ladam:
The following is a brief case histcm:

On January 26, 2012, 1 was “Assigned Counsel Arraignment Attorney” and was assigned
by the Honorable Abraham Clott of the New York City Criminal Court to represent Mr.
Corley on his criminal matter

On February 15, 2012, Mr. Corley was arraigned his indictment, 423/12. He was charged
with two counts of Promoting Prostitution as “D” felonies At the arraignment, l was
able to convince Judge Bonnie Wittner to reduce the bail from $20(),000.00
cash/Sl§(),()O0.00 bond to $50,000.00 cash/$ZS,OO0.00 bond. The matter was then
adjourned for motions An Omnibus Motion was thereafter filed

Aftcr meeting with Mr. Corley, at the jail on February 9, March 14, and March 29 and
after reviewing additional discovery, it was agreed that an investigator be utilized An
exparte motion for an investigator was granted, and Regent lnvestigations, an approved
“18B” investigator, whom l used in the past, was hired.

At the same time, l was able to negotiate a plea bargain that would involve the minimum
sentence of 1-3 years incarceration upon a plea Of guilty Mr. Corley was not interested
in that disposition

On April 10, the court issued a decision, and the matter was set for trial l\/lr. Corley
declined the above offer.

The matter was adjourned several times into the fall due to conflicting schedules
between defense counsel, the District Attorney and the Court. However, the discovery

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process and review of the case was on going, as was the investigation by Regent.
Unfortunately, the investigation by Regent Investigations yielded no results

ln December, the court granted a new investigator, l\/lr. l\/like Barry, also approved for
work by the New York City Assigned Counsel. Mr. Barry and 1 had worked together in
the past as well and l was familiar with his work. He too could find no information to
assist l\/Ir. Corley in his defense Also during December, a motion was filed to have l\/lr.
Corley released prior to trial based on speedy trial issues. That motion was denied

By early December, the DA indicated the United States’ Attorney’s Off`ice was interested
in the case and if a plea was not taken shortly, the United States would pick up the case.

On December 18, 2012, l was able to secure a “reverse prof`fer” for l\/[r. Corley in which
the United State-s prosecutors agreed to show Mr. Corley their evidence in order to
convince him to take a plea in State Court as opposed to facing their case in Federal
Court. After several hours, l\/lr. Corley decided he wanted to go to Federal Court. On
December 20, the matter was adjourned, and on January 24, 2013, he was indicted in the
Southern District of New York, and a new attorney was assigned to represent him on that
matter. The State case was dismissed

Response to l\/Ir. Corley’s allegations:

l deny l\/lr. Corley’s allegations that l used his case for promotion On December 3,
when questioned by l\/Iario Diaz, the reporter in the interview, l told him “These are
baseless allegations against an innocent man and we will take the case to trial.” And
when questioned regarding the similarity to the high profile case going on at the same
time of Anna Gristina, who was also charged with promoting prostitution, l replied “He
is not accepting any deals, no reason he should, he is innocent.” l have included a
transcript of the interview. Moreover, when questioned, l saw this an opportunity to
inform the public of l\/lr. Corley’s position and help, as opposed to only hearing the
prosecutor’s version

According to the article, the information is from the Vice Enforcement Division and
District Attorney’s office lt is information from the criminal complaint itself that is
obtainable from the court file, which was not sealed.

At no point did 1 reveal any confidential information provided to me from Mr. Corley or
l\/Ir, Barry, the investigator.

As to his assertion that l was “back in the news discussing a similar case,” on December
16, 2013, two weeks after l\/Ir. Corley’s interview, l was assigned a matter in which my
client, Anthony Rodriguez, was allegedly a pimp who branded his women On December
19, in response to those allegations, l said “It’s alleged in the criminal complaint,
however, in my discussions with him there is no basis for that whatsoever,” There was
no connection with Mr. Corley._ inoreover, l\/lr. Barry was not involved in this matter

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Sliould you require any additional information, please do not hesitate to contact me.

 

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EXHIBIT G

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SUPREME COURT OF THE STATE OF NEVV YORK
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Upon reading the Afflrmation ot`GLENN F, HARDY, ESO‘, counsel for the abovo»
referenced dot’<~)ndant, setting forth the justification for the appointment of Miohaoi Barry
(oxport or other professional) Whoso ourrioulum Vitae Was provided to the court and Who
was requested to provide investigative Sorvioos, and the Court being Satist`iod that too
dofondant is financially unable to obtain invostigativo, export or other Servioos necessary to
an adequate presentation o;t` (his)(hor) oasc:, it is hereby

ORDERED, that counsel is authorized to obtain tito necessary and roas<;mablo and
Servioos of Michaol Barry/Ports & Filos for the hourly rate of $51).()() in accordance With
Articte lS-B, Section 722~¢ of the County Law.

And .1.'1` I.S FUR”I`H.ER OR`DERED that upon rendition of such Servicos, oounsot
shall bo authorized to prosont to the Court a claim for compensation not to exceed the
Statutory cap of$l ,(`)(`)0, at Whioh time the Court W1`11 determine reasonable compensation
for the Sorvicos rendered and direct the C'ity of `N eW York to pay Suoh amoant to the
expert/professional or to Suoh other pearson entitled to that compensation H" any Snoh ciaim
for compensation exceeds the Statutory cap of $ 1_,00(), oounsal must Submit an a.t"th*nizz,ttion
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Dated: ~20~~

 

 

 

 

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Case 1:15-cv-09621-KPF Document 118 Filed 01/16/19 Page 48 of 70

SUPRI:`I\ RT OI" 'I'H"E STATE OF NEW YORK, COUN’! .~T_EW YORK
TE§E YEOPLE OF 'I‘H.li`. S'I`A.TE Oll‘ NEW YDRK
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l_ l, GLENN F. HAR`DY am duly licensed to practice law in the State of New York, end hereby affirm under
penalty of perjury, that the following is true;
2. By order ofthis Couot dated Jan. 26, 2012, I was assigned to the abovearefexen€'~ed esso
3. The above-referenced defendant is financially unable to obtain investigative expert or other services
necessary to an adequate presentation of his case
4. For the following reasons, services other than counsel are necessaxy on behalf of the above»referenced
defendant
Justifi¢:ation for appointment of expert and anticipated work to be performed:
To speak with and interview witnesses
5. lt is requested then services be rendered by the expert intiieated:) and it is further requested that the ijloort set
a reasonable compensation ritter fn setting a reasonable compensation x~ate, ins Conrt may t)e guided by the
attached payment guidelines sat forth in the Adtnini:nrznive {,)rder ot"tlte Cltie-t` radzziinistmtor ot'“t`lte flout/tn
Pons & Files, Inc, Interview complainant! Witnesses
NAME NATURE» Gl"` SERV!CES
80 Wat| Street tt 1017
New Yorl<, NY 10005-3615 (718)~267»2124. fa)<: 212»482~0675
snow Am)m;ss

WHBREFORE, I respectfully request that the Court authorize the necessary and reasonable services of Regent
lnvestigations (name of expert), in accordance with Article l&»B, Section 722»€> of the County Law.

AND open rendition of snell services3 l shaft be authorized to present to the tjiotn't a claim for c<mn:)en:zation not to
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entitled to that compensation }?aymezn of fees exceeding the $'lstlt}(l tap will lie contingent upon receipt of an
aft'mnation detailing the extraordinary circumstances requiring work in excess of the can

  

 
   

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Prim Nw::e. Glenn F. Hn)'z!v

Adaress.- 226 7"'5¢, tea 302, oman czzv. NY man

Case 1:15-cv-09621-KPF Document 118 Filed 01/16/19 Page 49 of 70

EXHIBIT H-1

 

 

NYC CR|ME BRONX

;1')1AI:LY NEWS

 

   

UPTOWN OBITUAR|ES 1; NEWYORKP|CS

BROOKLYN § QUEENS

Case 1:15-cv-09621-KPF Document 118 Filed 01/16/19 Page 50 of 70

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z DN PHOTOGRAPHERS

 

 

 

 

 

Lawyer: Brooklyn district attorney's office
dropping problem-plagued case of four men
charged in rape of Orthodox Jewish woman

Four accused of accused of pimping out Crown Heights woman when she was 13 years
old and enslaving her with threats and violence

BY OREN `z'AN|V. TRACY CONNOR / NEWVORK DA|LY NEWS / Thursday. June 21. 2012, 1:19AM _:,k A _.:`.\

 

JESSE WARD FOR NEW VORK DAlL\’ NEV\'S

Jamali Brockett (second from l.), Darrell Du|a (third from l.) and Damien Crooks (r.), along with Jawara
Brockett (not pictured) are off the hook in a crumbling rape case, defense attorney James Phillips
said.

Brooklyn prosecutors are dropping the problem-plagued case against four
young men charged in the alleged rape and sex-trafficking of an Orthodox
Jewish womanl who recanted at one point, a defense lawyer said Wednesday.

James Philiips, who represents one of the accused, said the assistant district
attorney on the case told him the indictment will be dismissed ata hearing
Tuesday.

“He was relieved, obvious|y, and pleased." Phil|ips said of his client, Darrel|
Dula, 25, Who was freed on bail after the case began to crumble. "But it's a
bittersweet result. He spent nearly a year in jail on a crime he didn`t commit,"

A spokesman for Brooklyn DA Charles Hynes did not return a call.

Phillips said he believed Hynes is abandoning the case so he doesn’t have to
confront embarrassing allegations of misconduct

 

Ex-high school
teacher facing new
underage sex
charges

Tanya Ramirez, 31, was hit
with the new charges just
eey§_e.ltsf.r.ef\.l_siug.e
Mexican man says

his 19-inch penis is
too big to work

A l\/lexican man says his 19~
inch penis prohibits him
from being able to work...

 

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battle in San Francisco. Can
the availab|e...

 

Woman locked in
shed, tortured by
brother freed:
prosecutors

A woman who was locked in

 

 

 

 

 

a shed has been freed as

 

her brother and his..¢

BK woman gets $BGK
from dead dad’s bank
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A Brooklyn woman found
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$86,000 from her lalher`s.

 

Beloved Brooklyn
mom dies after

 
     

Case 1:15-cv-09621-KPF Document 118 Filed 01/16/19 Page 51 of 70

RELATED: WOl\/lAN lN CRUl\/|BLlNG RAPE CASE TRAlNlNG |N MARTlAL
ARTS lN |SRAEL

Dula, Damien Crooks, 32, and brothers Jamali and Jawara Brockett were
accused of pimping out the 22-year-old Crown Heights woman when she was
just 13 years old, enslaving her with threats and violence

A day after she filed her original complaint the woman briefly recanted and
said she had a consensual relationship with Crooks _ a fact that was withheld
from the defense for months,

The Woman's father recently said she hoped to return from se|f~defense
training in Israel to testify against the men at trial. "The worst possible outcome
would be for it to be thrown out on a technicallty," he said.

The original prosecutor on the case told the Daily News she had brought
misgivings about the accuser's credibility to her boss and was brushed off.
Both assistant DAs have since left Hynes' office

 

 

JESSE A. WARD FCR NEWYORK DNL‘( NEWS

 

PROMOTED STORlES

 

         

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Ranking the Presidents The Most Lethal Gangs In
with the Lowest |Cls America

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How Human lngenuity
Can address Tomorrow's
Energy Challenges

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slamming SUV into
light pole

A Brooklyn woman who was
like a mother lo her son's
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FRDMOTED STDR|ES

 

Ranking U.S. Presidents
by lQ Score
(lnsideGov)

 

Cats Being Cats: Why
They Do These 25 Weird
Things

(SheKnows)

 

An Artist Showcases
What Real Women Look
Like, Underneath lt All

. (FestCompany)

 

 

 
 
 
 
  
  

Americans unaware of
adverse effects of dirty
water
(P&G on ?his lvlama Loves)

 

 

 

25 NYC workers didn`t
know they had $1M
winning |otto ticket

Twenty five city workers won
$1 million on a Mega
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EXCLUSlVE: $5006
settlement for family
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The city has paid 3500,000
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Brooklyn woman files
lawsuit for half naked
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A Brooklyn woman is suing
after she was dragged outol »
her apartmenthalf...

Woman avoids jail in

huge benefits fraud

case in Bronx

A Bronx woman who _
§§

committed one of the §

borough's biggest ever case

 

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Ex-NYPD cop bring
Brooklyn man to
tears with testimony

A Brooklyn man accusing
disgraced ex-NYPD
Detective Louis Scarcella

   

Case 1:15-cv-09621-KPF Document 118 Filed 01/16/19 Page 52 of 70

EXHIBIT H-Z

Case 1:15-cv-09621-KPF Document 118 Filed 01/16/19 Page 53 of 70

FIRST ON PlX: Al|eged pimp brands his prostitutes with tattoos (and by day he’s also a

tour bus operator)

   

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Alleged pimp brands his prostitutes; forces them to get tattoos

 

(NEW YORK) - A tattoo is an expression A form of art for many. This said, P|X 11 News has learned that
prosecutors inside of l\/lanhattan Supreme Court on Thursday will say that alleged pimp Anthony Rodriguez used

tattoos as a way_to brand his women.
The tattoos allegedly forced on them was the Way the 26-year-o|d operated on the streets lt Was a stark reminder to

the Women as well as a warning to others that this was his property

“Apparently this is a common situation where pimps Where Will tattoo their women to show that these women are

their property,” said his defense attorney Glenn Hardy.

if there is anyone who understands how to move flesh, it’s allegedly Rodriguez. When he’s not allegedly running

street walkers, he’s apparently running tourists around the city as a bus dispatcher for a tour operator

  

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“He was employed with a tour company that runs the buses in midtown, you know, touring the city," said Hardy.

The criminal complaint by a detective out of the NYPDS’s Vice Enforcement Division says that Rodriguez, who was
arrested last Friday, Was the architect behind a prostitution ring that operated on Websites and included the trafficking

of a prostitute to an international jurisdiction

Case 1:15-cv-09621-KPF Document 118 Filed 01/16/19 Page 54 of 70

“lt’s alleged in the criminal complaint however, in my discussions with him there is no basis for that whatsoever,”

said Hardy.

The operation, which lasted more than two years, appears to also have been violent Rodriguez allegedly beat two
women, one at a location on i\/|anhattan Street in Harlem. The other blocks away at a residence on Lexington. The
reason? There are two of them. Either they did not share all of the profits for hocking or they refused to deliver

sexual favors to Rodriguez when he called for them.

However, it’s the hard core act of branding his women that makes this case unique Or does it?

PlX 11 News spoke with a tattoo artist along St. l\/lark's Place whose been coloring for 18 years. Kris didn’t want to

go on camera, but he did indicate that pimps marking their hookers is not uncommon

“At all the tattoo shops l used to work at, yes, people come in telling l want my name on her and that’s it. lt’s what

they force and demand, that’s it,”

Rodiguez, faces charges of criminal sex acts, promoting prostitution, sex trafficking, possession of a weapon, as well

as endangering the welfare of a child.

There are also two interesting coincidences involved in this case The arresting detective is a female who also
played a key role in exposing a father-son prostitution operation centralized around livery cars in the
spring Separately, Hardy also is the defense attorney for Royce Corley. He made headlines recently for a January

arrest where he allegedly utilized Con Edison computers to promote prostitution while on the job.

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EXHIBIT I

Case 1:15-`cv-09621`-KPF`"`D`octiment 118 Filed 015/16/19 Page 56 of 70

 

 

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EXHIBIT J-l

Case_1:15-cv-09€_521-KPF Document 118 Filed 01/16/19 Page 58 of 70

 

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OP|N|ON

 

 

 

 

 

 

 

New York Must Strengthen Sex
l'rafficking Laws

>y Cyrus Vance, Jr., dan 28, 2015

   
     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Manhattan DA Cy Vance (photo: DA`s office)

 

 

 

 

 

Case 1:15- c-v- -0-9621 KPF Doc_ument 118 Filed 01/16/19 eF’ag]eg 519 of 70
Sex trafficking is a lucrative criminal enterprise in which youthful look: ar

 

demand and actual children command top dollar. Yet, gaps in New Yo. k State' s sex
trafficking laws limit prosecutors ability to convict traffickers of high-level felonies,
making sex trafficking of children in New York a relatively low-risk proposition.

Forty-six states in this country recognize that prostituted children are victims of sex
trafficking These states acknowledge that vulnerable children innately deserve the
strongest protection, and their laws enable prosecutors to seek tougher convictions
and prison sentences for those who traffic minors. Currently, New York is not one of

those states.

Traffickers are not merely common criminals, but often calculating heads of criminal
enterprises that rake in thousands of dollars over the course of months - or even years
- before their rings are dismantled. They know that Sex Trafficking is often difficult to
prove, given the unwillingness of victims to testify against their abusers due to the
trauma they have suffered, fear of retribution, and the complex psychological bonds

many have developed.

ln New York State, Sex Trafficking convictions require proof of force, fraud, or coercion,

even if the victim is under 18. According to data compiled
(http://www.polarisbroiect.oro/what-we-do/policv-advocacv/national-policv/state-
ratings-on-human-traffickino-laws) by the Polaris Project, New York is one of only four
states where that is the case. That means, for instance, if New Jersey prosecutors prove
that a defendant sold a sixteen-year-old girl for sex, that defendant would be convicted
of Sex Trafficking - but in New York, prosecutors would additionally have to prove that
the defendant used fear, fraud, or coercion to compel that teenager into trafficking
New York's laws are similarly weaker than the federal and international definitions of
sex trafficking. That must change.

As national Human Trafficking Prevention Month draws to a close, l am calling on New
York State legislators to give our prosecutors the same tools, allowing us to better
protect the children traffickers target for sexual exploitation and profit. The penal code
must be changed to recognize the fact that children do not have the legal,
psychological, or emotional capacity to consent to sexual activity, as reflected in our
statutory rape laws. This view of children should not change simply because there is an

exchange of money.

Of course, New York takes trafficking very seriously_ Recently announced state
legislative initiatives include many significant proposals, such as changing Sex

Trafficking from a nonviolent to a violent felony, and offering more support and

 

 

 

 

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Case 1:15-cv-09621-K|_3F Document 118 Filed 01/16/19 _Page 60 of 70
services for victims. But there is daping hole in our State's laws got thing the

 
 

trafficking of children - one that would be simple to correct. We need to amend our
penal code so that Sex Trafficking can be proved Without evidence of force, fraud, or
coercion when the victim is less than 18 years of age.

Law enforcement in jurisdictions that have this proposed statute, such as New .Jersey
and our counterparts in the Southern District of New York, are better able to secure
high-level felony convictions and correspondingly lengthy sentences of traffickers. |n
contrast, New York State prosecutors have occasionally found that the only way we can
bring a trafficker tojustice is to seek prosecution in anotherjurisdiction.

Let me give you an example. Royce Corley, who also went by the name "Ron |ron," ran a
prostitution ring in Manhattan in 2011 and 2012 that included underage girls. He
photographed the children - including three 16-year-olds - in explicit poses,
advertised them on backpage.com, and made thousands of dollars by selling them for
sexual services. Working with our partners in the NYPD, Corley was arrested after an
undercover sting.

Despite the fact that Corley was prostituting children, my office's Human Trafficking
prosecutors were unable to charge the defendant with Sex Trafficking under current
New York State law. So, we asked the Southern District of New York to take the case,
and to seek appropriate justice where we could not. Following his trial conviction under
Federal sex trafficking statutes Corley was sentenced to 10 years in prison and 10 years
of post-release supervision.

Prosecutors should not have to hand-off cases to ensure that victims in New York get
justice. My proposal would not only ensure that offenders could be convicted of higher
felonies and therefore receive stronger sentences, but would also ease the traumatic
experience a victim may face if a case goes to trial.

Eliciting testimony about sexual conduct and force, fraud, or coercion is incredibly
difficult for any victim, let alone a child. With the proposed changes, a child's testimony
could essentially be boiled down to two questions: How old are you? And, were you
prostituted by the defendant on trial?

At its core, this proposal is an acknowledgement that a child sold for sex is a victim,
plain and simple. Let's follow in the footsteps of the overwhelming majority of other
states, the federal government, and the international community. Let's ensure that
those who profit from selling children will face consequences commensurate with their

crimes. Let's do what is just for the most vulnerable among us.

 

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Cyrus R. Vance, Jr. is the Manhatta,. District Attorney.

_ _ _ _ _ Show Summai
Have an op-ed idea or submission for Gotham Gazette? E-mail editor Ben iViax: », ~ .»

 

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EXHIBIT J-Z

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pimping out a lo-ye old girl
in.`Que'ens ~ but was let off y
with a slap o the wrist thanks _
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New York Post, Wednesday, Aprii 418, 2018

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Royce` “Iron Ron" Corley
was__ arrested for.selling under-
age girls in Manhattan -- but
the b,,orough’s district attorney
was powerless to lock him up

for trafficking .
Instead, he had
to turn to federal
prosecutors 4 to'
make the case.
The '29-year-old
~ Corley hadjtaken:
in three 16-year-
` old 'runa `ays `_

' coerced or
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Federal laws recognize that
underage tee`ns can’t consent
to sex, so DA Cyi'us Vance ]r.
' _ handed the case
off to then-US At-
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in prison for sex
' trafficking minors
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But prosecutors
say it’s no long-
term solution:
_ ‘ They can’t force
the feds to take a case, and it
means _`the attorneys who
know the case best are no lon-
g`er involved. '

` "‘It just drives you crazy,"
Vance said of the current law.
7 ' ~ ' ' Yoav Gonen

   

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~ The M'anhattan District At~ ,
torney’s ~' Office - and NYPD
-busted ~Corley in anyunder,~"

 

 

  
   
  

 
  
 

 

 

  

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didn’t have what was needed
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ROSECUTING pimps who
sell kids for sex may seem
like an open-and-shut traf-
ficking case - but not in
New York.

Wea.k state laws‘are keeping ,

traffickers out of prison, and
lawmakers are failing vulnerable
kids by refusing to change them.
prosecutors and cops told The
Post. ' '
New`York is one of just three
states ~ - along with Alabama
and Ohio - that requires attor-
neys to prove that an underage
victim was forced, defrauded or

rcoerced into prostitution to

make la trafficking case, even
though minors can’t legally con-.
sent to sex with an adult.

As a'_result, dirtbags can pimp
out lZ-'year-old girls on Craigs-
list and get offwith a slap on the

' wrist fy the victims can’t or

 

  

wonft testify. ~:

“We can bring other charges
- We can bring promoting pros-
titution charges _ but if it’s
your first arrest and you’re look-
ing at one to three years on that
charge, you can end up with pro-
bation for what is essentially
child rape for profit,” said Laura
Edidin7 chief of the Brooklyn
District Attorney’s Office's Hu-
manTraffickin`g,Unit. ,,

The state’s unusually high bur-

den of proof often means the'

only witnesses who can prove
the children weren’t willing par-
ticipants are the victims them-
selves. And as survivors, advo-
cates and law-enforcement offi-
cials have explained .in The
Post's three-part series on the

scourge of sex trafficking in-

New York City, the victims,often
don’t see themselves that way -

or they’re simply too trauma-~

    

.tized to take the stand

     
      

  

 

“They don’t recognize them-
selves as victims,” said Inspec-
tor Iim Klein, head of the
NYPD’s Vice Enforcement Unit.

' ,“They love their pimp. They’re

afraid that we can’t protect them
-_ that something bad's going to
happen to them,” he said. “It’s
hard. The DAs will tell you. The
[assistant US attorneys] will tell
you. It’s difficult to get these
victims to copperate.”
Some'Albany lawmakers have
been fighting an uphill battle in
recent years to make prostitu-
tion of a minor a sex-trafficking
charge -- bringing it into line
with the federal definition -
but the bills have repeatedly
failed to clear the Assembly.
Opponents in the past have
said they’re worried trafficking
victims who help recruit other
minors into “the life” will be
prosecuted as well - but even a

 

 

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page), of the _Brooklyn
Trafficking Unit, is frustrated by legal
obstacles - even as pimps are rounded
l up by NVPD Vice Unit boss Jim Kiein,
Capt Thomas |Viilano, FBl Specia_i Agei"it
Thomas Thompson, Lt. Joseph Picarel|o
and Lt. Christopher Sharpe (from ieft).

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quence died in the notoriously
progressive Codes Committee. `
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felonies is gh sell to lefty,`
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Paulin (D- Westcheste'r), who au- ` ' . tion cases are handled - and ev
thorec_l the 01 bill and an earlier ' .' ‘ ery case there` is viewed as one f "
` ` ' y poten `al trafficking he says'.
ln is for workin

y n Raciiei Lioyd started Gir|s
Educational & |Vientorin Services .
(GE|V|S) to fight sext ickirig

11 usually starts With a phone
' call in the middle of the night

desperate, is
one to g h

`sive pimp

proces of transitioning a sex
out of “the

Lloyd,- -the founde and execu-

tive director of Girls Educa-`

tional & Mentoring Services, is

'a survivor herself, starting
'_GEMS at her kitchen table
when s as 23 _ With just _

$30 and a orrowed laptop.~
“It's c about giving young
Women those things that people

can’t take away: skill sets, edu-
. cation, certifications whatever '-
vit is, so no matter what, .you
' have something else to fall back
' on, ” Lloyd said of her work.

While there are government

shelters for victims of such
f crimes as dorn stic violence,
' there' is not one single taxpayer-
funded bed in the city dedi-'

cared solely to trafficking survi-
v`ors So EMS and other non-
governmental rganizations
venant I-Io`use and

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EXHIBIT J-3

 

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Pimp a less-fit dad than 3-year-old's hooker
mom

Lamont Brunson of Harlem ends up in pen on sex-trafficking conviction after taking mom
to Family Court and accusing her of being unfit because she was turning tricks. Mom then
told cops that pimp forced her to work streets

BY JANON FlSHER / NEW YORK DA]L`{ NEWS / Wedne$day. Aiigusl ‘l, 2012,11:16 PM iix A 131

 

BR¥AN SMTH FOR NEW YORK DAlLV NEWS

Manhatian District Attomey Cyrus Vance's office came down on pimp Lamoncl Brunson after he took
mother of his child to Family Court and called her unfit.

A HARLEM pimp who went to court to try to wrest his 3-year~o|d daughter
away from her hooker mom will now be spending the next three to nine years

in state prison for sex trafficking

Thickheaded Lamont Brunson, 33. took his prostitute girlfriend to Family Courtl
claiming she was an unht mother because she was turning tricks.

“He conveniently ignored his role in her exploitation," Assistant District Attorney
John Temple told the judge at his sentencing Wednesday.

The woman, who is not named because she's a sex-crime victim, in turn went
to the cops, telling them that he was forcing her into the flesh tradeA

jfisher@nydai/ynews.com

PROMOTED STOR|ES

 

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EDlTOR'SP|CKS

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stunned when they
meet each other
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Ga. man charged with
raping fiancée's 12-
yeai»o|d daughter

Shalin Ren Payne, 29, was
out on parole. babysitling
his lianr:ée's...

 

 

[Watch] Hate Parallel
Parking on a Hill?
You Need to See This

Parklng is literally an uphill
battle in San Francisco. Can

 

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New Jersey woman
pleads guilty to
deadly penis
injection

Kasia Rivera, 38. faces five

   

years in prison for Jusli`n
Street’s 201

Stop cheating
spouse’s U.S green
card plans by doing
nothing

Cl. l married a man from
Jamaica only to learn lie
_h_a_d a relationship wlth...
Man found nearly

dead in Brooklyn
stairwe|l, cops say

Cops are investigating the
beating ofa 22-year~old

man who was was found..,

PROMOTED STDR|ES

 

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EXHIBIT J-Li

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Cyrus R. Vance, Jif.
District Attoi'iiey, New `Y`oi‘,k County

 

For Immediate Release February 05, 2014

DA VANCE: SEX TRAFFICKER SENTENCED TO 10 %-TO-$Z YEARS IN
PRISON

Taye Elleby Operatea’ Prostitution Ri`ng, Trayj‘ickea’ 17- Year-Old Girl Out OfHarlem Apar‘tmenr

Manhattan DistrictAttorney Cyrus R. Vance, Jr., today announced the sentencing of TAYE ELLEBY, 36, to 10 2A-to-?>Z
years in state prison for running a prostitution ring and trafficking a 17-year-old female victim into prostitution. On
December 16, 2013, a jury in New York State Supreme Court found ELLEBY guilty ofthe top count of the indictment
againsthim, Sex Traflicking, as well as two counts each of Promoting Prostitution iri the Second and Thlrd Degrees.

“Sex trafficking is a serious crime thatleaves terrible scars on its victims,” said District Attorney Vance. “Butjust like any
other criminal enterprise outto make money, sex traffickers like Taye Elleby often leave digital footprints that are
devastating proof ofthelr crimes. My Ofi`ice’s human trachking prosecutors are also cross-trained in financial
investigations and are working with financial institutions to flag suspicious banking behavior typical of sex traffickers.
Using inancial crime investigative techniques We are not only able to build stronger cases, but better able to identify
victims and get them the help they need."

As proven at trial, beginning in March 2013, ELLEBY ran a prostitution ring from his Harlem apartment involving a 17-
year-old giri that he trachked into prostitution. ELLEBY, who advertised commercial sexual services through the
website Backpage.com, controlled the victim through physical, emotional, and psychological coercion, and demanded
that she hand over nearly all of the money she made. |f the victim did not follow his rules, ELLEBY physically assaulted
her. in one incident he did not allow herto eat when she had not earned enough money. He also used emotional
manlpulafion, convincing the victim that he loved her, and that she loved him.

The defendant»was arrested outside his home after the victim’s mother contacted law enforcement Prosecutors were
able to connect scores of ads posted on Backpage.com to ELLEBY through various forms of forensic evidence which
were presented at trial.

Last month, DistrictAttorney Vance, in conjunction with Monique Villa, the CEO ofthe Thomson Reuters Foundation,
issued a white paperthat provided guidance to the financial industry on how to identify and report irregularities in
financial transactions that might be linked to human trafficking activity. The document has been adopted by some of
the world’s leading financial institutions, including American Express, Bank ofAmerica, Citigroup, and JP Morgan
Chase, and is the key outcome of the financial working group initiated lastAprll.

Sorne ofthe suspicious financial behaviors identified in the document include the regular transfer offunds from the
employees accounts back to the employers (indicative oflabor trafficking), recurrent business transactions taking

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place outside the time of known business operations, international transfers offunds that are inconsistentwith the
stated business purpose ofthe customer, and a high number of individual accounts opened and closed
simultaneously. The document also identifies a number of industries whose workers are more easily exploited by
trachkers, including non-unionized service or hospitality providers, labor intermediaries, nail salons, travel agents,

restaurants and strip clubs.

Assistant DistrictAttorneys Siobhan Carty and Kristen Caruso handled the prosecution of this case, under the
supervision of Assistant District Attorney John Temp|e, Attorney-in-Charge ofthe Human Trafficking Program, Assistant
DistrictAttorney Nicole Blumberg, Chiefofthe Child Abuse Unit, and ChiefAssistant DistrictAttorney Karen Friedman-
Agnitilo. Trial Preparation AssistantCaitlin Barrett assisted with the case.

District Attorney Vance thanked NYPD Detective Mark Woods currentfy with the Joint Terrorism Task Force, formerly
with the Vice Enforcement Division.

Defendant |nformation:

TAYE ELLEBY, D.O.B. 9/15/1977
New York, NY

Convicted:

‘ Sex Trafficking, a class B felony, one count
‘“ Promoting Prostitution in the Second Degree, a class C felony, two counts

‘ Promoting Prostitution in the Third Degree, a class D felony, two counts

Sentenced:

‘ 10 2/3-to-32 years in state prison

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